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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                                            :
IN RE NATIONAL FOOTBALL LEAGUE                              :       No. 2:12-md-02323-AB
PLAYERS’ CONCUSSION INJURY LITIGATION                       :
                                                            :       MDL No. 2323
                                                            :
THIS DOCUMENT RELATES TO                                    :
                                                            :
Maxwell, et al. (Case No. 12-cv-1023)                       :
Pear, et al. (Case No. 12-cv-1025)                          :
Monk, et al. (Case No. 12-cv-3533)                          :
Henderson, et al. (Case No. 12-cv-3534)                     :
Kuechenberg, et al. (Case No. 12-cv-3535)                   :
Kapp, et al. (Case No. 12-cv-4575)                          :
Bauman, et al. (Case No. 12-cv-4576)                        :
Bailey, et al. (Case No. 12-cv-05372)                       :
                                                            :

                                CERTIFICATE OF SERVICE

       I hereby certify that, on October 31, 2012, pursuant to paragraph 8 of Case Management
Order No. 1 (ECF No. 4), the foregoing Memorandum of Certain Plaintiffs’ in Opposition to
Defendants National Football League’s and NFL Properties LLC’s Motion to Dismiss
Concerning Additional Cause of Action Pled in Short Form Complaints was served via the
Electronic Case Filing (ECF) system in the United States District Court for the Eastern District
of Pennsylvania, on all parties registered for CM/ECF in the above captioned matter.


                                                     Respectfully submitted,

                                                     /s/ Thomas V. Girardi
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